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13 Attorney for Defendants

14
                               UNITED STATE DISTRICT COURT
15
                           NORTHERN DISTRICT OF CALIFORNIA
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                                             )
17 FELTON BROWN, et. al.,                    )   Case No. 3:22-cv-02840-WHO
                                             )
18         Plaintiffs,                       )   JOINT ADVISORY STATEMENT
                                             )
19         v.                                )   Judge:    Hon. William H. Orrick
                                             )
20 THE UNIVERSITY OF PHOENIX, INC.,          )
   APOLLO EDUCATION GROUP, INC.,             )
21 and DOES 1 through 10,                    )
                                             )
22         Defendants.                       )
                                             )
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30 JOINT ADVISORY STATEMENT                                         No. 3:22-cv-02840-WHO

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              Case 3:22-cv-02840-WHO Document 25 Filed 10/05/22 Page 2 of 3




 1                                 JOINT ADVISORY STATEMENT
 2          Plaintiffs and Defendants, The University of Phoenix, Inc. and Apollo Education Group,

 3 Inc., by and through their undersigned counsel, jointly submit this Advisory Statement. After

 4
     engaging in mediation and settlement discussions, the Parties have reached a settlement agreement.
 5
     The parties are currently working on settlement documentation and anticipate the settlement will
 6
     be finalized before January 31, 2023, the deadline to file the Joint Statement in anticipation of the
 7
     Case Management Conference scheduled on February 7, 2023 at 2:00 P.M. Should the Parties need
 8

 9 additional time, they will timely advise the Court.

10
            Dated: October 5, 2022.                Respectfully Submitted,
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     JOINT ADVISORY STATEMENT                                                      No. 3:22-cv-02840-WHO
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     JOINT ADVISORY STATEMENT                                        No. 3:22-cv-02840-WHO
